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 7
     and Jeremy Tafelmeyer
 8

 9                                UNITED STATES DISTRICT COURT

10                                    DISTRICT OF NEVADA

11   DAVID AGUILAR,                                   Case No. 3:23-cv-00547-ART-CSD

12                   Plaintiff,                            DEFENDANTS’ ANSWER TO
                                                           PLAINTIFF’S CIVIL RIGHTS
13   v.                                                          COMPLAINT
                                                                  (ECF NO.7)
14   J. TAFELMEYER; et al.,                                (JURY TRIAL DEMANDED)

15                   Defendants.

16

17            Defendants, Zachary Mahon, Skyler Sheeks, and Jeremy Tafelmeyer, by and
18   through counsel, Aaron D. Ford, Attorney General for the State of Nevada, and Andrew C.
19   Nelson, Senior Deputy Attorney General, hereby answer Plaintiff’s Civil Rights Complaint
20   by an Inmate (Complaint), (ECF No. 7), as follows:
21   A.       JURISDICTION
22            1)    Defendants admit that this Court has jurisdiction pursuant to 28 U.S.C. §
23   1343(a)(3) and 42 U.S.C. § 1983. Defendants deny that jurisdiction is proper on any other
24   basis.
25            2)    Defendants admit Plaintiff, David Aguilar (Aguilar), is currently housed
26   within the Nevada Department of Corrections (NDOC) at Northern Nevada Correctional
27   Center (NNCC). Defendants deny any and all remaining allegations set forth in this
28   paragraph.



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 1         3)     Defendants deny that any violations of Aguilar’s constitutional rights
 2   occurred at any time or in any manner at NNCC. Defendants deny any and all remaining
 3   allegations set forth in this paragraph.
 4   B.    DEFENDANTS
 5         1)     Defendants admit Jeremy Tafelmeyer, believed to be sued as J. Tafelmeyer,
 6   was formerly employed as a Correctional Officer (C/O) at NNCC. Defendants deny any and
 7   all remaining allegations set forth in this paragraph.
 8         2)     No response is required since the Officer of the Attorney General (OAG) does
 9   not represent Joseph Johnson at this time. To the extent a response is necessary,
10   Defendants are without sufficient knowledge or information to form a belief of the truth of
11   the allegations set forth in this paragraph, therefore, deny on that basis.
12         3)     Defendants admit Zachary Mahon, believed to be sued as Mahon, was
13   formerly employed as a (C/O) at NNCC. Defendants deny any and all remaining allegations
14   set forth in this paragraph.
15         4)     Defendants admit Skyler Sheeks, believed to be sued as Sheeks, is currently
16   employed as a C/O at NNCC. Defendants deny any and all remaining allegations set forth
17   in this paragraph.
18         5)     No response is required since Aguilar left this paragraph blank within his
19   Complaint. To the extent a response is necessary, Defendants are without sufficient
20   knowledge or information to form a belief of the truth of the allegations set forth in this
21   paragraph, therefore, deny on that basis.
22   C.    NATURE OF THE CASE
23         In response to this section of Aguilar’s Complaint, (ECF No. 7 at 2-3), Defendants
24   are without sufficient knowledge or information to form a belief about the truth of the
25   allegations set forth in this paragraph, therefore, deny on that basis.
26   ///
27   ///
28   ///



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 1   D.    CAUSE(S) OF ACTION
 2         CLAIM I: DENY
 3         1)      Defendants admit Aguilar has rights afforded to him under the Eighth
 4   Amendment of the United States Constitution. Defendants deny those rights, or any other
 5   rights afforded to Aguilar, were violated at any time or in any manner by the Defendants.
 6         2)      Defendants are without sufficient knowledge or information to form a belief
 7   about the truth of the allegations in this paragraph and therefore, the allegations are
 8   denied.
 9         3)      Defendants are without sufficient knowledge or information to form a belief
10   about the truth of the allegations in this paragraph and therefore, the allegations are
11   denied.
12         4)      Supporting Facts 1
13              1. Defendants are without sufficient knowledge or information to form a belief
14   about the truth of the allegations in this paragraph and therefore, the allegations are
15   denied.
16              2. Defendants are without sufficient knowledge or information to form a belief
17   about the truth of the allegations in this paragraph and therefore, the allegations are
18   denied.
19              3. Defendants are without sufficient knowledge or information to form a belief
20   about the truth of the allegations in this paragraph and therefore, the allegations are
21   denied.
22              4. Defendants are without sufficient knowledge or information to form a belief
23   about the truth of the allegations in this paragraph and therefore, the allegations are
24   denied.
25   ///
26   ///
27
           1 Defendants identify six (6) paragraphs within this section of Plaintiff’s Complaint
28
     and answer this section accordingly. (ECF No. 7 at 4-5).


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 1              5. Defendants are without sufficient knowledge or information to form a belief
 2   about the truth of the allegations in this paragraph and therefore, the allegations are
 3   denied.
 4              6. Defendants are without sufficient knowledge or information to form a belief
 5   about the truth of the allegations in this paragraph and therefore, the allegations are
 6   denied.
 7   E.    PREVIOUS LAWSUITS
 8         1)      Defendants are without sufficient knowledge or information to form a belief
 9   about the truth of the allegations in this paragraph and therefore, the allegations are
10   denied.
11         2)      Defendants are without sufficient knowledge or information to form a belief
12   about the truth of the allegations in this paragraph and therefore, the allegations are
13   denied.
14         3)      Defendants are without sufficient knowledge or information to form a belief
15   about the truth of the allegations in this paragraph and therefore, the allegations are
16   denied.
17   F.    REQUEST FOR RELIEF
18         1)      Defendants deny Aguilar is entitled to any relief sought within this paragraph
19   of his Complaint.
20   G.    ADDITIONAL ALLEGATIONS

21         As to any remaining allegations contained in Aguilar’s Complaint, not specifically

22   admitted or denied herein, Defendants hereby deny any and all such allegations.

23   H.    DEFENDANTS’ AFFIRMATIVE DEFENSES

24         Defendants also assert the following Affirmative Defenses:
25         First Affirmative Defense
26         Aguilar has failed to state a claim for which relief can be granted.
27   ///
28   ///



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 1         Second Affirmative Defense
 2         Aguilar has failed to state a cognizable constitutional claim pursuant to 28 U.S.C.
 3   § 242, 28 U.S.C. § 1343 (a)(3), 42 U.S.C. §1983, and/or NRS 41.0322, 441A.220 and NRS
 4   209.885.
 5         Third Affirmative Defense
 6         At all times mentioned in Aguilar’s Complaint, Defendants did not personally
 7   participate in any of the alleged violations and/or were neither the cause-in-fact nor the
 8   proximate cause of Plaintiff’s damages, if any.
 9         Fourth Affirmative Defense
10         Defendants are not legally responsible for the actions and/or omissions of other
11   third parties.
12         Fifth Affirmative Defense
13         Defendants are entitled to qualified immunity.
14         Sixth Affirmative Defense
15         Defendants are entitled to discretionary act immunity.
16         Seventh Affirmative Defense
17         Aguilar’s claims are barred pursuant to the doctrine of sovereign immunity and the
18   Eleventh Amendment of the United States Constitution.
19         Eighth Affirmative Defense
20         Aguilar’s claims are barred as Plaintiff has failed, refused, or neglected to take
21   reasonable steps to mitigate his damages, therefore barring or diminishing his ability to
22   recover.
23         Ninth Affirmative Defense
24         Aguilar failed to exhaust his administrative remedies pursuant to the Prisoner
25   Litigation Reform Act, NRS 41.0322 and/or NRS 209.243, and NDOC Administrative
26   Regulation (AR) 740.
27   ///
28   ///



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 1          Tenth Affirmative Defense
 2          Defendants held an objective good faith belief that they were acting reasonably and
 3   that their actions were privileged and legally justified.
 4          Eleventh Affirmative Defense
 5          There can be no recovery for damages under 42 U.S.C. § 1983 against government
 6   officials acting in their official capacity.
 7          Twelfth Affirmative Defense
 8          Defendants, at all relevant times, acted with due care and circumspection in the
 9   performance of their duties.
10          Thirteenth Affirmative Defense
11          Aguilar’s claims for relief are barred as Plaintiff’s damages are speculative and
12   cannot be calculated with any certainty or reliability.
13          Fourteenth Affirmative Defense
14          Defendants are not the direct or proximate cause of the alleged constitutional
15   deprivations or tortious actions as alleged.
16          Fifteenth Affirmative Defense
17          Defendants are immune from liability pursuant to Nevada Revised Statutes §§
18   41.031- 41.032 et. seq.
19          Sixteenth Affirmative Defense
20          Defendants, at all relevant times, acted in good faith toward Plaintiff and possessed
21   a good faith belief that Defendants were acting reasonably, and that Defendants’ actions
22   were privileged and legally justified, and Defendants are entitled to qualified good faith
23   immunity from damages.
24          Seventeenth Affirmative Defense
25          Aguilar is barred from seeking punitive damages pursuant to Nevada Revised
26   Statute § 41.035 et. seq.
27   ///
28   ///



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 1         Eighteenth Affirmative Defense
 2         Aguilar is barred from seeking an award of attorney fees pursuant to 42 U.S.C. §
 3   1988 and § 1998.
 4         Nineteenth Affirmative Defense
 5         Each purported claim for relief is barred by the doctrines of res judicata and/or
 6   collateral estoppel.
 7         Twentieth Affirmative Defense
 8         Each purported claim for relief is barred as Aguilar is estopped from pursuing any
 9   claim against Defendants in accordance with equitable principles of jurisprudence.
10         Twenty First Affirmative Defense
11         Aguilar’s claims for relief are barred by the Statute of Limitations and/or Statute of
12   Frauds.
13         Twenty Second Affirmative Defense
14         Each purported claim for relief is barred as the answering Defendants are not
15   legally responsible for the actions and/or omissions of other named or unnamed
16   Defendants.
17         Twenty Third Affirmative Defense
18         Aguilar’s claims are barred by the doctrine of comparative negligence because his
19   actions were more than 51% of the cause of any damages in this case.
20         Twenty Fourth Affirmative Defense
21         Each purported claim for relief is barred pursuant to the doctrine of unclean hands.
22         Twenty Fifth Affirmative Defense
23         Aguilar’s claims, or parts thereof, are barred due to the fact there is no causation
24   between the alleged facts and the damages sought in the Complaint.
25         Twenty Sixth Affirmative Defense
26         Agular is barred from receiving Court Costs arising under 42 U.S.C. § 1988 and §
27   1997e.
28   ///



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 1         Twenty Seventh Affirmative Defense
 2         Aguilar is not entitled to prejudgment interest from the date of filing of his initial
 3   Complaint.
 4         Twenty Eighth Affirmative Defense
 5         Aguilar has failed to provide for any cognizable damages.
 6         Twenty Ninth Affirmative Defense
 7         All possible affirmative defenses may not have been alleged in as much as
 8   insufficient facts and other relevant information may not be available after reasonable
 9   inquiry and, pursuant to FED. R. CIV. P. 11, Defendants hereby reserve the right to
10   amend their answers and these affirmative defenses as additional information becomes
11   available.
12   I.    PRAYER FOR RELIEF
13         WHEREFORE, Defendants pray for relief as follows:
14         1.     That Aguilar take nothing by virtue of his Complaint.
15         2.     For attorney fees and costs of defending this suit.
16         3.     A jury trial is demanded
17         DATED this 15th day of March, 2024.
18                                           AARON D. FORD
                                             Attorney General
19
                                             By:   /s/ Andrew C. Nelson
20                                                 ANDREW C. NELSON, Bar No. 15971
                                                    Senior Deputy Attorney General
21
                                                   Attorneys for Defendants
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 1                                CERTIFICATE OF SERVICE
 2         I certify that I am an employee of the State of Nevada, Office of the Attorney General,
 3   and that on March 15, 2024, I filed the foregoing, DEFENDANTS’ ANSWER TO
 4   PLAINTIFF’S CIVIL RIGHTS COMPLAINT, via this Court’s electronic filing system.
 5   Parties that are registered with this Court’s electronic filing system will be served
 6   electronically. For those parties not registered, service was made by depositing a copy for
 7   mailing in the United States Mail, first-class postage prepaid, addressed to the following:
 8         Luke Busby, Esq.
           316 California Ave.
 9         Reno, NV 89509

10

11                                          /s/ Karen Easton
                                            An employee of the
12                                          Office of the Nevada Attorney General

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